Case 2:03-cr-20039-PKH            Document 181    Filed 02/27/06   Page 1 of 1 PageID #: 88



                               INTHE TJNITEDSTATESI]ISTRICTCOURT
                                 WESTERNDIS'I'RIC'I'OF ARKANSAfI
                                       FORTSMITHDIVISION



   UNITED STATESOI. AMERICA                                                          DI,N1'
                                                                    PLAIN'I1F'F'/RESPON

                                              Civil No, 05-?012
                                           Crim.No. 03-20039-003

   SONTRTJONG
            NGUYEN                                                     DEFENDANTIMOVANT


                                                 ORDER
                       'r-r,J*-'  E t
           Now ou this 4 / day of_L!fug4ll-2006,          comeson for considerationthc movart's

   requestfor a certificateofappealabilityfiled on FebruaryI 5, 2006(Doc.# 176),in theabovestyled

   case.

           Thccourtlinds,fbr thereasons
                                      setforthin theStatement
                                                           ofReasonsfor DcnialofCcrtificate

   of Appealabilityfiled concrurently.herewith,
                                            thatthe saidmotionshouldbeandhcrebyis denied.




            U S,[i$ll']lCT
                         COURT                   HON.ROBERTT.DAWSON
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